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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Wellpath Holdings, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FKA CCS-CMGC Holdings, Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  3340 Perimeter Drive
                                  Nashville, TN 37211
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Davidson                                                      Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://wellpathcare.com/


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Wellpath Holdings, Inc.                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5511

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor    Wellpath Holdings, Inc.                                                                       Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Rider 1                                                  Relationship               Affiliate
                                                                Southern District of
                                                    District    Texas                       When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                                                                     50,001-100,000
                                                                                        5001-10,000
 (Consolidated for all Debtors)
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
(Consolidated for all Debtors)          $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
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Debtor   Wellpath Holdings, Inc.                                                           Case number (if known)
         Name


16. Estimated liabilities          $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                                   $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
 (Consolidated for all Debtors)    $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                                   $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 4
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Debtor    Wellpath Holdings, Inc.                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 11, 2024
                                                  MM / DD / YYYY


                             X /s/ Timothy Dragelin                                                       Timothy Dragelin
                                 Signature of authorized representative of debtor                         Printed name

                                         Chief Restructuring Officer and Chief
                                 Title   Financial Officer




18. Signature of attorney    X /s/ Marcus A. Helt                                                          Date November 11, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Marcus A. Helt
                                 Printed name

                                 McDermott Will & Emery LLP
                                 Firm name

                                 2501 North Harwood Street
                                 Suite 1900
                                 Dallas, TX 75201
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (214) 295-8000                Email address      mhelt@mwe.com

                                 24052187 TX
                                 Bar number and State




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                                   Rider 1 to Voluntary Petition

         On the date hereof, each of the affiliated entities listed below, including the debtor in this
chapter 11 case (collectively, the “Debtors”), has filed or will file a petition for relief in the United
States Bankruptcy Court for the Southern District of Texas Houston Division under chapter 11 of
title 11 of the United States Code. The Debtors have, substantially contemporaneously herewith,
moved for joint administration of these cases for procedural purposes only under the case number
assigned to the chapter 11 case of Debtor Wellpath Holdings, Inc.

                          Debtor Name                                            EIN Number
                     Wellpath Holdings, Inc.                                      XX-XXXXXXX
   901 45th Street West Palm Beach Florida Behavioral Health
                                                                                  XX-XXXXXXX
                     Hospital Company, LLC
          Alpine CA Behavioral Health HoldCo, LLC                                 XX-XXXXXXX
         Behavioral Health Management Systems, LLC                                XX-XXXXXXX
  Boynton Beach Florida Behavioral Health Hospital Company,
                                                                                  XX-XXXXXXX
                               LLC
            CCS-CMGC Intermediate Holdings, Inc.                                  XX-XXXXXXX
           CCS-CMGC Intermediate Holdings 2, Inc.                                 XX-XXXXXXX
                   CCS-CMGC Parent GP, LLC                                        XX-XXXXXXX
                CCS-CMGC Parent Holdings, LP                                      XX-XXXXXXX
                      CHC Companies, LLC                                          XX-XXXXXXX
             Conmed Healthcare Management, LLC                                    XX-XXXXXXX
                   Correct Care Holdings, LLC                                     XX-XXXXXXX
              Correct Care of South Carolina, LLC                                 XX-XXXXXXX
            Correctional Healthcare Companies, LLC                                XX-XXXXXXX
        Correctional Healthcare Holding Company, LLC                              XX-XXXXXXX
                    Harborview Center, LLC                                        XX-XXXXXXX
              HCS Correctional Management, LLC                                    XX-XXXXXXX
                 Healthcare Professionals, LLC                                    XX-XXXXXXX
                   Jessamine Healthcare, LLC                                      XX-XXXXXXX
              Justice Served Health Holdings, LLC                                 XX-XXXXXXX
                   Missouri JSH Holdco, LLC                                       XX-XXXXXXX
                   Missouri JDH Manager, Inc.                                     XX-XXXXXXX
                    Perimeter Hill RPA, LLC                                       XX-XXXXXXX
              Physicians Network Association, Inc.                                XX-XXXXXXX
                      Wellpath CFMG, Inc.                                         XX-XXXXXXX
      Wellpath Community Care Centers of Virginia, LLC                            XX-XXXXXXX
           Wellpath Community Care Holdings, LLC                                  XX-XXXXXXX
         Wellpath Community Care Management, LLC                                  XX-XXXXXXX
                    Wellpath Education, LLC                                       XX-XXXXXXX
                 Wellpath Group Holdings, LLC                                     XX-XXXXXXX
           Wellpath Hospital Holding Company, LLC                                 XX-XXXXXXX
                          Wellpath LLC                                            XX-XXXXXXX
                   Wellpath Management, Inc.                                      XX-XXXXXXX
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     Wellpath Recovery Solutions, LLC                XX-XXXXXXX
            Wellpath SF Holdco, LLC                  XX-XXXXXXX
               WHC, LLC                              XX-XXXXXXX
              WPMed, LLC                             XX-XXXXXXX
        Zenova Management, LLC                       XX-XXXXXXX
         Zenova Telehealth, LLC                      XX-XXXXXXX




                                 2
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                   Omnibus Action by Written Consent in Lieu of a Meeting
                            of the Entities listed on Schedule A

                                         November 11, 2024

        The undersigned being (i) the members of the Special Committee (as defined below), boards
of directors or the boards of managers authorized to authorize to execute this consent or (ii) the sole
member, as applicable (in each case, a “Governing Body” and, collectively, the “Governing
Bodies”), of all of the entities listed on Schedule A (each, a “Company” and, collectively, the
“Companies”), hereby consent, in accordance with the organizational documents of each Company
and applicable state laws, to the following actions and adopt the following resolutions with respect
to each Company in lieu of a meeting effective as of the date hereof. For the avoidance of doubt,
each Governing Body is adopting these resolutions as to its respective Company.

Chapter 11 Filing

        WHEREAS, each Governing Body has considered presentations by the management and
the financial and legal advisors of each of the Companies regarding the liabilities and liquidity
situation of each of the Companies, the strategic alternatives available to it, and the effect of the
foregoing on each Company’s business;

        WHEREAS, each Governing Body has had the opportunity to consult with the management
and the financial and legal advisors of the Companies and fully consider each of the strategic
alternatives available to the Companies;

        WHEREAS, each Governing Body has been briefed on the proposed voluntary bankruptcy
petition to be filed by each respective Company, and have received, reviewed, and considered the
recommendations of, and the materials presented by, the management the financial and legal
advisors of the Companies regarding the relative risks and benefits of pursuing cases under the
provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) and the
preparation materials provided by the financial and legal advisors, and each Governing Body
recommends the adoption of these resolutions;

       WHEREAS, the Governing Body of CCS-CMGC Intermediate Holdings 2, Inc., a Delaware
corporation (“Holdings 2”), previously established a special committee (the “Special Committee”),
adopted that certain Special Committee Charter (the “Special Committee Charter”), and delegated
to the Special Committee certain duties, powers, and authority as described in such Special
Committee Charter;

         WHEREAS, the Special Committee has recommended to the Governing Body of Holdings
2 that the Governing Body of Holdings 2 approve, adopt and ratify the Chapter 11 filing resolutions
set forth herein; and

        NOW, THEREFORE, BE IT RESOLVED, that in the business judgment of each Governing
Body, it is desirable and in the best interests of each Company (including a consideration of its
creditors and other parties in interest) that each Company shall be, and hereby is, authorized to file,
or cause to be filed, a voluntary petition for relief (each a “Chapter 11 Case” and, collectively,
                                                  1
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 the “Chapter 11 Cases”) under the provisions of chapter 11 of the Bankruptcy Code in the United
 States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”) and any other
 petition for relief or recognition or other order that may be desirable under applicable law in the
 United States;

           FURTHER RESOLVED, that the Chief Executive Officer, any Vice President, any
Assistant Vice President, any Chief Financial Officer, any Treasurer, any Chief Legal Officer, any
Secretary or Assistant Secretary, any Manager, any Director, or any other duly appointed officer or
other person acting at the direction of the foregoing officers of each Company (collectively,
the “Authorized Signatories”), acting alone or with one or more other Authorized Signatories be, and
they hereby are, authorized, empowered, and directed to execute and file on behalf of each Company
all petitions, schedules, lists, and other motions, papers, or documents, and to take any and all actions
that they deem necessary, proper or convenient to obtain such relief, including any action necessary
to maintain the ordinary course operation of each Company’s business; and

          FURTHER RESOLVED, that each Authorized Signatory is authorized, empowered, and
directed to (a) execute and file in the name and on behalf of the applicable Company, and under its
corporate seal or otherwise, all plans, petitions, schedules, statements, motions, lists, applications,
pleadings, orders, and other documents in the Bankruptcy Court, (b) employ and retain all assistance
by legal counsel, accountants, financial advisors, investment bankers, and other professionals, and
(c) take and perform any and all further acts and deeds that such Authorized Signatory, who may act
without the joinder of any other Authorized Signatory, deems necessary, proper, or desirable in
connection with the Chapter 11 Cases, including (i) negotiating, executing, delivering, and
performing under any and all documents, agreements, certificates, and instruments in connection
with the transactions and professional retentions set forth in this resolution, (ii) appearing as
necessary at all bankruptcy proceedings in the Bankruptcy Court on behalf of the Companies, and
(iii) paying all such expenses where necessary or appropriate in order to carry out fully the intent
and accomplish the purposes of the resolutions adopted herein; and

          FURTHER RESOLVED, that all acts and deeds previously performed by any of the
Authorized Signatories or officers of any of the Companies prior to the adoption of the foregoing
recitals and resolutions that are within the authority conferred by the foregoing recitals and
resolutions, are hereby ratified, confirmed, and approved in all respects as the authorized acts and
deeds of the Companies.

          RESOLVED FURTHER, that pursuant to the Special Committee's Charter, the Special
Committee shall negotiate, make, consider, review, evaluate, approve, authorize, execute, and
consummate, if appropriate, certain strategic and/or financial alternatives available to the Companies
and their respective businesses, assets, and properties, including, without limitation, a sale, merger,
consolidation, restructuring, reorganization, recapitalization, liquidation, or other transaction or
related financing or refinancing involving the Companies and/or one or more of its subsidiaries,
whether by filing a voluntary petition for relief under the Bankruptcy Code or otherwise; without the
need for further review, approval, or consent from the Holdings 2 board of managers.

 Retention of Professionals

         WHEREAS, each Governing Body has considered presentations by the financial and legal

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advisors of each Company regarding the retention of such financial and legal advisors by each
Company.

        NOW, THEREFORE, BE IT RESOLVED, that each of the Authorized Signatories be, and
hereby is, authorized, empowered and directed to employ the law firm of McDermott Will & Emery
LLP (“McDermott”) as general bankruptcy counsel to represent and assist each Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance each
Company’s rights and obligations, including filing any motions, objections, replies, applications,
or pleadings; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized, empowered and directed to execute appropriate retention
agreements, pay appropriate retainers and fees, and cause to be filed an appropriate application for
authority to retain the services of McDermott;

       FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized, empowered and directed to employ the firm of FTI Consulting, Inc. (“FTI”) as financial
advisors and to (a) provide Timothy J. Dragelin, as Chief Financial Officer and Chief Restructuring
Officer of the Companies, (b) additional personnel and restructuring services to each Company in
carrying out its duties under the Bankruptcy Code, and (c) take any and all actions to advance each
of the Company’s rights and obligations; and in connection therewith, each of the Authorized
Signatories, with power of delegation, is hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers and fees, and cause to be filed an
appropriate application for authority to retain the services of FTI;

        FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized, empowered and directed to employ the firm of Lazard Frères & Co. LLC(“Lazard”) as
investment banker to (a) represent and assist each Company in carrying out its duties under the
Bankruptcy Code and (b) take any and all actions to advance each Company’s rights and
obligations; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized, empowered, and directed to execute appropriate retention
agreements, pay appropriate retainers and fees, and cause to be filed an appropriate application for
authority to retain the services of Lazard;

        FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized, empowered and directed to employ the firm of MTS Partners, LP (“MTS”) as
investment banker to (a) represent and assist each Company in carrying out its duties under the
Bankruptcy Code and (b) take any and all actions to advance each Company’s rights and
obligations; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized, empowered, and directed to execute appropriate retention
agreements, pay appropriate retainers and fees, and cause to be filed an appropriate application for
authority to retain the services of MTS;

       FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized, empowered and directed to employ the firm of Epiq Corporate Restructuring, LLC
(“Epiq”) as claims, noticing, solicitation, and administrative agent to (a) represent and assist each
Company in carrying out its duties under the Bankruptcy Code and (b) take any and all actions to
advance each Company’s rights and obligations; and in connection therewith, each of the
Authorized Signatories, with power of delegation, is hereby authorized, empowered, and directed
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to execute appropriate retention agreements, pay appropriate retainers and fees, and cause to be
filed appropriate applications for authority to retain the services of Epiq;

         FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized, empowered, and directed to employ any other legal counsel, accountants, financial
advisors, restructuring advisors, or any other professionals to assist each Company in carrying out
its duties and responsibilities and exercising their respective rights under the Bankruptcy Code; and
in connection therewith, each of the Authorized Signatories, with power of delegation, is hereby
authorized, empowered and directed to execute appropriate retention agreements, pay appropriate
retainers and fees, and to cause to be filed an appropriate application for authority to retain the
services of any other professionals as necessary, proper or convenient; and

       FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is, with
the power of delegation, authorized, empowered, and directed to execute and file all petitions,
schedules, motions, lists, applications, pleadings, and other papers, and, in connection therewith, to
employ and retain all assistance by legal counsel, accountants, financial advisors, and other
professionals and to take and perform any and all further acts and deeds that each of the Authorized
Signatories deem necessary, proper, or desirable in connection with each Company’s Chapter 11
Case, with a view to the successful prosecution of such case.

Cash Collateral, Debtor-in-Possession Financing, and Adequate Protection

       WHEREAS, each Governing Body has reviewed and considered presentations by the legal
and financial advisors regarding the need for financing to fund the Chapter 11 Cases and the
postpetition credit facility (the “DIP Financing”), memorialized by in the DIP Loan Documents (as
defined below);

        NOW, THEREFORE, BE IT RESOLVED, that each Company will obtain benefits from
(a) the use of collateral, including cash collateral, as that term is defined in section 363(a) of the
Bankruptcy Code (the “Cash Collateral”), which may be security for certain prepetition secured
lenders under (i) that certain First Lien Credit Agreement, dated as of October 1, 2018 (as may be
amended, restated, amended and restated, modified, or supplemented from time to time,
the “Prepetition First Lien Credit Agreement”), by and among Wellpath Holdings, Inc. (f/k/a CCS
CMGC Holdings, Inc.), as borrower, CCS-CMGC Intermediate Holdings, Inc., as holdings, the
other Credit Parties (as defined in the Prepetition First Lien Credit Agreement) from time to time
party thereto as guarantors, the lenders from time to time party thereto (the “Prepetition First Lien
Lenders”), and UBS AG Stamford Branch (as successor to Credit Suisse AG, Cayman Islands
Branch), as administrative agent and collateral agent for the Prepetition First Lien Lenders
(the “Prepetition First Lien Agent”) and (ii) Second Lien Credit Agreement, dated as of October 1,
2018 (as may be amended, restated, amended and restated, modified or supplemented from time to
time, the “Prepetition Second Lien Credit Agreement”), by and among Wellpath Holdings, Inc.
(f/k/a CCS CMGC Holdings, Inc.), as borrower, CCS-CMGC Intermediate Holdings, Inc., as
holdings, the other Credit Parties (as defined in the Prepetition Second Lien Credit Agreement)
party thereto as guarantors, the lenders party thereto from time to time (the “Prepetition Second
Lien Lenders”), and UBS AG Stamford Branch (as successor to Credit Suisse AG, Cayman Islands
Branch), as administrative agent and collateral agent for the Prepetition Second Lien Lenders
(the “Prepetition Second Lien Agent,” and together with the Prepetition First Lien Agent,

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the “Prepetition Agents”) and (b) the incurrence of debtor-in-possession financing obligations
pursuant to the terms of that certain Debtor-in-Possession Credit Agreement, dated as of the date
hereof (together with any and all exhibits, schedules, and annexes thereto, the “DIP Loan
Documents”), by and among, each Company party thereto as a borrower or guarantor, as applicable,
the lenders party thereto from time to time (the “DIP Lenders”) and the agent(s) thereto
(the “DIP Agents,” and, together with the Prepetition Agents, the “Agents”), providing for
(i) a senior secured postpetition new money term loan credit facility on a superpriority basis and
(b) a roll-up of certain outstanding Term Loans under the Prepetition First Lien Credit Agreement
(collectively, the “DIP Facility”);

        FURTHER RESOLVED, that in order to use and obtain the benefits of (a) the
DIP Financing and (b) the use of Cash Collateral, and in accordance with section 363 of the
Bankruptcy Code, each Company will provide certain liens, claims, and adequate protection to the
Prepetition Secured Lenders and to the DIP Lenders to secure the obligations of such Companies
under the DIP Facility (the “DIP Obligations”) as documented in a proposed orders in interim and
final forms (the “DIP Orders,” and, collectively with the DIP Loan Documents,
the “DIP Documents”), and submitted for approval to the Bankruptcy Court;

        FURTHER RESOLVED, that the form, terms, and provisions of the DIP Orders to which
each Company is or will be subject, and the actions and transactions contemplated thereby be, and
hereby are, authorized, adopted, and approved, and each of the Authorized Signatories of each
Company be, and hereby is, authorized and empowered, in the name of and on behalf of Each
Company, to take such actions and negotiate or cause to be prepared and negotiated and to execute,
deliver, perform, and cause the performance of, the DIP Orders and the other DIP Documents, incur
and pay or cause to be paid all fees and expenses and engage such persons, in each case, on the
terms or substantially on the terms submitted to each Governing Body, with such changes,
additions, and modifications thereto as the officers of each Company executing the same shall
approve, such approval to be conclusively evidenced by such officers’ execution and delivery
thereof;

         FURTHER RESOLVED, that, in the judgment of the Governing Body of each Company,
after due consultation with the management and the legal and financial advisors of the Companies,
that it is desirable each such Company will receive benefits from the DIP Loan Documents and the
loans contemplated thereunder, and it is desirable and in the best interest of each such Company,
each such Company’s equityholders, creditors, and other parties in interest that the form, terms, and
provisions of the DIP Documents to which any and all of the Companies are a party, all other
documents, agreements, instruments or certificates, intellectual property security agreements,
joinders, and consents to be executed, delivered, or filed by each such Company in connection
therewith, and the transactions contemplated by the DIP Documents (in each case including the
borrowings and other extensions of credit thereunder, and the guaranties, liabilities, obligations,
security interest granted and notes issued, if any, in connection therewith) and the consummation
of the transactions contemplated thereby or entered into in connection with the DIP Documents be,
and hereby are, authorized, adopted, and approved in substantially the form presented to the
Governing Body of each Company, together with such changes as may be approved by the
Authorized Signatories executing and delivering the same, such approval to be conclusively
evidenced by such Authorized Signatory’s execution and delivery thereof;


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         FURTHER RESOLVED, that the Governing Body of each Company has determined, after
due consultation with the management and the legal and financial advisors of the Companies, that
it is desirable, necessary, and in the best interest of each such Company’s business and affairs and
each such Company’s equityholders, creditors, and all other parties in interest that the applicable
Companies execute, deliver, and perform the obligations under the DIP Loan Documents and the
other DIP Documents, and to consummate the transactions contemplated thereby, including any
borrowings, the performance of any guarantees, and the granting of any security interests and liens,
and each such Company’s execution and delivery of, and the incurrence and performance of its
obligations in connection with the DIP Loan Documents, including the guarantee of the Obligations
(as defined in the DIP Loan Documents) thereunder, and any other DIP Document to which it is a
party, and the consummation of the transactions contemplated thereby or entered into in connection
with the DIP Loan Documents, including, any borrowing by any Company under the DIP Loan
Documents, are hereby, in all respects, authorized and approved;

         FURTHER RESOLVED, that the form, terms, and provisions of the DIP Orders to which
each Company is or will be subject, and the actions and transactions contemplated thereby are
hereby authorized, adopted, and approved, and each of the Authorized Signatories of each such
Company be, and hereby is, authorized and empowered, in the name of and on behalf of each such
Company, to negotiate or cause to be prepared and negotiated, and to take such actions necessary
to execute, deliver, perform, and cause the performance of, each DIP Order and such other
agreements, certificates, instruments, receipts, petitions, motions, or other papers or documents
relating to the transactions contemplated thereby to which each such Company is or will be a party,
including, any security agreements, pledge agreements, guaranty agreement, assignment
documents, notices, financing statements, mortgages, intellectual property filings, tax affidavits, fee
letters, and other instruments as any of the DIP Agents or requisite DIP Lenders may reasonably
request or as may be necessary or appropriate to create, preserve, and perfect the liens of the
Agents, purported or required pursuant to any of the transaction documents to be created in the
Collateral (as defined in the DIP Loan Documents (or similar term defined therein)), such
agreements with third parties (including bank agency agreements, lockbox agreements, control
agreements, landlord agreements, and warehouse letters) relating to the Collateral, any swap
contracts or hedging agreements and such other loan documents, guarantees, instruments,
certificates and documents as may be reasonably requested by any of the DIP Agents or the requisite
DIP Lenders, or as may be required by the DIP Orders, DIP Loan Documents, or any of the
foregoing (collectively, with the DIP Orders and DIP Loan Documents, the “DIP Documents”),
with such changes, additions, and modifications thereto as any Authorized Signatory executing the
same shall approve, such approval to be conclusively evidenced by such Authorized Signatory’s
execution and delivery thereof;

       FURTHER RESOLVED, that the incurrence of the liabilities and obligations arising from
each DIP Order and each DIP Document by each Company party thereto, (a) is necessary and
convenient to the conduct, promotion and attainment of the business of such Companies and
(b) may reasonably be expected to benefit such Companies, directly or indirectly;

       FURTHER RESOLVED, that each Company, as debtor and debtors in possession under the
Bankruptcy Code be, and hereby is, authorized to incur the DIP Obligations, including the
borrowing of the loans under the DIP Loan Documents and other obligations related to the
DIP Financing, and to undertake any and all related transactions on substantially the same terms as
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contemplated under the DIP Documents, including granting liens on and security interests in its
assets, including the Collateral, to the Agents to secure such obligations (collectively,
the “DIP Transactions”);

        FURTHER RESOLVED, that each of the Authorized Signatories of each Company, acting
alone or with one or more other Authorized Signatories, be, and hereby is, authorized, directed and
empowered in the name of, and on behalf of, each such Company, as debtors and debtors in
possession, to take such actions as in their discretion is determined to be necessary, desirable, or
appropriate to execute the DIP Transactions, including the negotiation, execution and delivery of
(a) the DIP Documents, (b) such other instruments, certificates, notices, assignments, and other
documents, including, any amendments to any DIP Documents, as may be reasonably requested by
the Agents, and (c) such forms of deposit account control agreements, officer’s certificates, and
compliance certificates as may be required by the DIP Documents, in the name of and on behalf of
each Company, with such changes therein as shall be approve by the Authorized Signatories
executing the same, with such execution by said Authorized Signatory to constitute conclusive
evidence of their approval of the terms thereof, including any departures therein from any form
presented to the Governing Bodies of such Companies;

         FURTHER RESOLVED, that each of the Authorized Signatories of each Company, acting
alone or with one or more other Authorized Signatories, be, and hereby is, authorized, directed and
empowered in the name of, and on behalf of, each such Company, as debtors and debtors in
possession, to guarantee the DIP Obligations under the DIP Documents and to assign, transfer,
pledge, and grant to each Agent, for the ratable benefit of the respective or applicable Secured
Parties (as defined in the DIP Loan Documents (or similar term defined therein)), a security interest
in all or substantially all the assets of such Company, as collateral security for the prompt and
complete payment and performance when due of the DIP Obligations under the DIP Documents to
which such Company is a party or which it is subject to and to take or cause to be taken any such
actions as may be necessary, appropriate or desirable to cause the Companies to create, perfect and
maintain a security interest in such Companies’ property or assets constituting Collateral (as defined
in the DIP Loan Documents (or similar term defined therein)) as described or contemplated in the
DIP Documents;

        FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized and empowered to take all actions or to not take any action in the name of each Company
with respect to the transactions contemplated by these resolutions, whether existing now or in the
future, in each case, as such Authorized Signatory shall deem necessary or desirable in such
Authorized Signatory’s reasonable business judgment, including the authorization of resolutions
and agreements necessary to authorize the execution, delivery, and performance pursuant to the
DIP Documents (including certificates, affidavits, financing statements, notices, reaffirmations,
amendments, and restatements thereof or relating thereto) as may be necessary, appropriate, or
convenient to effectuate the purposes of the transactions contemplated therein;

         FURTHER RESOLVED, that each of the Authorized Signatories of each Company be, and
hereby is, authorized, directed, and empowered in the name of, and on behalf of, each Company to
file, or to authorize the Agents to file, any Uniform Commercial Code (the “UCC”) financing
statements, any other equivalent filings, any intellectual property filings and recordation, and any
necessary assignments for security or other documents in the name each Company that the Agents
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deem necessary or appropriate to perfect any lien or security interest granted under the DIP Orders
and the DIP Documents, including any such UCC financing statement containing a generic
description of collateral, such as “all assets,” “all property now or hereafter acquired,” and other
similar descriptions of like import, and to execute and deliver, and to record or authorize the
recording of, such mortgages and deeds of trust in respect of real property of each Company and
such other filings in respect of intellectual and other property of each such Company, in each case
as the Agents may reasonably request to perfect the security interests of the Agents under the DIP
Orders or any of the other DIP Documents;

        FURTHER RESOLVED, that each of the Authorized Signatories of each Company be, and
hereby is, authorized, directed, and empowered in the name of, and on behalf of, each Company to
take all such further actions, including to pay all fees and expenses payable in accordance with the
terms of the DIP Documents, to arrange for and enter into supplemental agreements, amendments,
instruments, certificates, or documents relating to the transactions contemplated by any of the DIP
Documents, and to execute and deliver all such supplemental agreements, amendments,
instruments, certificates, or documents in the name and on behalf of each of the Companies, which
shall in their sole judgment be necessary, proper, or advisable in order to perform such Companies’
obligations under or in connection with any of the DIP Documents and the transactions
contemplated therein (execution by such Authorized Signatory to constitute conclusive evidence of
such judgment), and to carry out fully the intent of the foregoing resolution. The performance of
any such further act or thing, and the execution of any such document or instrument by any of the
Authorized Signatories of the Companies pursuant to these resolutions, shall be conclusive
evidence that the same have been authorized and approved by the Companies in every respect; and

        FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized to execute and deliver to the Agents, as applicable, and to perform the applicable
Company’s obligations under, all other documents, certificates, instruments, agreements and
writings including any interest rate swaps, caps, collars, or similar hedging agreement and any
financing statements (or amendments thereto) that may be contemplated by, or required in
connection with, the DIP Documents, these resolutions, and the transactions described herein and
therein, and to do all such acts and things as any person hereinafter authorized to execute such
documents on behalf of such Company determines to be necessary or advisable in connection with
or as contemplated by, or for the purpose of giving effect to, or carrying out the provisions of, the
DIP Documents, such determination to be conclusively evidenced by such person’s signature
thereon or completion thereof, as applicable.

Restructuring Support Agreement

      WHEREAS, the Governing Bodies of each Company have reviewed and considered
presentations by the management and the financial and legal advisors of each such Company
regarding the advantages and disadvantages to certain restructuring, sale, and recapitalization
transactions contemplated by that certain Restructuring Support Agreement by and among the
Companies and the other parties thereto (the “Restructuring Support Agreement”); and

       WHEREAS, the Governing Bodies of each Company have had the opportunity to consult with
the financial and legal advisors of such Companies with respect to the Restructuring Support
Agreement and fully considered each of the strategic alternatives.
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       NOW, THEREFORE, BE IT RESOLVED, that in the business judgment of the Governing
Bodies of each Company, after due consultation with the management and the legal and financial
advisors of the Companies, it is desirable and in the best interests of each such Company, its
equityholders, its creditors, and all other parties in interest to execute, deliver, perform, and enter
into the Restructuring Support Agreement (and any other documents, certificates, instruments, and/or
agreements contemplated by the Restructuring Support Agreement) and that each Company’s
performance of its obligations under the Restructuring Support Agreement (and under any other
documents, certificates, instruments, and/or agreements contemplated by the Restructuring Support
Agreement) hereby is, in all respects, authorized and approved;

      FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized, empowered, and directed to execute, deliver, certify, file and/or record and perform the
Restructuring Support Agreement (and such other documents, certificates, instruments, and/or
agreements as may be required by the Restructuring Support Agreement) on behalf of the Companies
and perform all of the transactions contemplated thereby; and

      FURTHER RESOLVED, that each of the Authorized Signatories is hereby authorized,
empowered, and directed to execute and deliver any amendments, supplements, modifications,
renewals, replacements, consolidations, substitutions, and extensions of the Restructuring Support
Agreement which shall, in such Authorized Officer’s sole judgment, be necessary, proper, or
advisable, such determination to be conclusively evidenced by such person’s signature thereon or
completion thereof, as applicable.

Stalking Horse Asset Purchase Agreement

      BE IT RESOLVED, that in connection with the Chapter 11 Cases, the Governing Body of
Wellpath Holdings, Inc. and the Additional Sellers (as defined in the Stalking Horse APA) (the “APA
Signatories” and each an “APA Signatory”) have determined, after due consultation with the
management and the legal and financial advisors of the Companies, that it is in the best interests of
the Company and its stakeholders that the APA Signatories enter into, and the Companies and their
stakeholders will obtain benefits from, the transactions contemplated by that certain Asset Purchase
Agreement (the “Stalking Horse APA”) with RS Purchaser LLC, on the terms and conditions
substantially similar to those set forth in the form previously provided to the Governing Bodies of
each APA Signatory, and with such changes thereto as the Authorized Signatories executing the
same shall approve, and any other agreements, consents, certificates, amendments, assignments, and
instruments in connection therewith (collectively, with the Stalking Horse APA, the “Sale
Documents”), in each case subject to approval by the Bankruptcy Court;

      FURTHER RESOLVED, that the form, terms, and provisions of each of the Sale Documents
and each APA Signatory’s performance of its obligations thereunder, are hereby, in all respects
confirmed, ratified, and approved;

      FURTHER RESOLVED, that any Authorized Signatory is hereby authorized, empowered,
and directed, in the name and on behalf of each APA Signatory, to cause such APA Signatory to
negotiate and approve the terms, provisions of, and performance of, and to prepare, execute, and
deliver the Sale Documents, in the name and on behalf of such APA Signatory, and such other
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documents, agreements, instruments, and certificates as such Authorized Officer executing the same
considers necessary, appropriate, proper, or desirable to effectuate the transactions contemplated by
the Sale Documents, such determination to be conclusively evidenced by such person’s signature
thereon or completion thereof, as applicable;

       FURTHER RESOLVED, that any Authorized Signatory is hereby authorized, empowered,
and directed, in the name and on behalf of the APA Signatories, to take all such further actions,
including to pay all fees and expenses, in accordance with the terms of the Sale Documents, which
shall, in such Authorized Signatory’s sole judgment, be necessary, proper, or advisable to perform
the APA Signatories’ obligations under or in connection with the Sale Documents and the
transactions contemplated therein and to carry out fully the intent of the foregoing resolutions; and

      FURTHER RESOLVED, that any Authorized Signatory is hereby authorized, empowered,
and directed, in the name and on behalf of each APA Signatory, to execute and deliver any
amendments, supplements, modifications, renewals, replacements, consolidations, substitutions, and
extensions of the Sale Documents which shall, in such Authorized Officer’s sole judgment, be
necessary, proper, or advisable, such determination to be conclusively evidenced by such person’s
signature thereon or completion thereof, as applicable.

Amendment to Governing Documents

       RESOLVED, that to the extent that any actions authorized by these resolutions would result
in any Company that serves as a member of any other Company that is a limited liability company
to cease to be a member of such other Company under applicable law, the limited liability company
agreement of such other Company is hereby amended to provide that the filing of a voluntary petition
in bankruptcy or the other actions authorized under these resolutions shall not cause such member to
cease to be a member of such other Company, and in any such event, such other Company shall
continue without dissolution.

General Resolutions

        NOW, THEREFORE, BE IT RESOLVED, that the Authorized Signatories of each of the
Companies be, and each of them hereby is, authorized, empowered, and directed to execute,
acknowledge, verify, deliver, and file any and all such other agreements, documents, instruments,
and/or certificates and to take such other actions as may be necessary, proper, or appropriate in
order to carry out the intent and purposes of any of the foregoing resolutions;

        FURTHER RESOLVED, that each Authorized Signatory shall be, and hereby is,
authorized, empowered, and directed, on behalf of and in the name of the Companies, to (a) do and
perform all such acts and things and enter into, execute, acknowledge, deliver, and file all such
certificates, agreements, acknowledgments, instruments, contracts, statements, and other
documents and to take such further actions as such Authorized Signatory may deem necessary or
appropriate to effect the intent and accomplish the purposes of the foregoing resolutions, the taking
of such action or the execution and delivery thereof to be conclusive evidence of the approval
thereof, (b) perform the obligations of the Companies under the Bankruptcy Code and exercise all
rights of the Companies under the Bankruptcy Code (including all rights with respect to contracts,
agreements, and leases under sections 365 of the Bankruptcy Code), with all such actions to be
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performed in such manner, and all such certificates, instruments, guaranties, notices, and documents
to be executed and delivered in such form, as the Authorized Signatory performing or executing the
same shall approve, the performance or execution thereof to be conclusive evidence of the approval
thereof by such Authorized Signatory, the Governing Bodies, and the Companies, and (c) pay fees
and expenses in connection with the transactions contemplated by the foregoing resolutions;

       FURTHER RESOLVED, that the omission from this written consent of any (a) agreement,
document, or other arrangement contemplated by any of the agreements, documents, or instruments
described in the foregoing resolutions or (b) action to be taken in accordance with any requirement
of any of the agreements or instruments described in the foregoing resolutions shall in no manner
derogate from the authority of the Authorized Signatory to take all actions necessary, desirable,
advisable, or appropriate to consummate, effectuate, carry out, or further the transactions
contemplated by, and the intent and purposes of, the foregoing resolutions;

        FURTHER RESOLVED, that, to the extent that any Authorized Signatory serves as the sole
member, managing member, manager, general partner, partner, or other governing body
(collectively, a “Controlling Entity”), in each case, of any direct or indirect subsidiary of any
Company (a “Controlled Entity”), each such Authorized Signatory who may act without the joinder
of any other Authorized Signatory, be, and hereby is, authorized, empowered, and directed in the
name and on behalf of such Controlling Entity (acting for such Controlled Entity in the capacity set
forth above, as applicable), to (a) authorize such Controlled Entity to take any action that any
Authorized Signatory is authorized to take hereunder and/or (b) take any action on behalf of such
Controlled Entity that an Authorized Signatory is herein authorized to take on behalf of such
Controlling Entity (including execution and delivery of any authorizing resolutions);

        FURTHER RESOLVED, that each Governing Body of each Company has received
sufficient notices of the actions and transactions relating to the matters contemplated by any of the
foregoing resolutions, as may be required by the organizational documents of each Company, or
hereby waive any right to have received such notices;

        FURTHER RESOLVED, that each of the members of the board of managers, board of
directors, the Special Committee, the sole member, the manager, or the managing member, as
applicable, hereby irrevocably waives notice of the time, place, and purposes of a Meeting and any
adjournments thereof, to the extent such notice is required by the applicable organizational
documents of each Company;

        FURTHER RESOLVED, that any and all actions heretofore or hereafter taken and expenses
incurred in the name of and on behalf of any Company by any officer, director, or other Authorized
Signatory of any Company in connection with or related to the matters set forth or contemplated by
any of the foregoing resolutions be, and they hereby are, approved, ratified, and confirmed in all
respects as fully as if such actions had been presented to the Governing Bodies for approval prior
to such actions being taken;

       FURTHER RESOLVED, that any Authorized Signatory of any of the Companies is hereby
authorized to certify to third parties with respect to adoption of any of the foregoing resolutions in
the form and substance satisfactory to them; and

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       FURTHER RESOLVED, that this consent may be executed in one or more counterparts,
and delivered by electronic means, each of which, when so executed, shall be treated in all manner
and respects and for all purposes as one and the same original, written consent, and shall be
considered to have the same binding legal effect as if it were an original manually signed
counterpart hereof delivered in person.

                              [Remainder of page intentionally left blank]




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    The undersigned agree that this Omnibus Action by Written Consent in Lieu of a Meeting of
the Governing Bodies shall be added to the corporate records of each Company and made a part
thereof, and the undersigned further agree that the resolutions set forth hereinabove shall have the
same force and effect as if adopted at a meeting duly noticed, held, called and constituted pursuant
to each Company’s organizational documents and the applicable laws of the jurisdiction in which
such Company is organized.

                                     [Signature pages follow]




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                IN WITNESS WHEREOF, the undersigned has executed this Omnibus Action by Written
          Consent as of the date first written above.


                                                                      BOARD OF MANAGERS OF CCS-CMGC
                                                                      PARENT GP, LLC



                                                                      ____________________________________
                                                                      Jorge Dominicis

                                                                      ____________________________________
                                                                      Louis Hallman

                                                                      ____________________________________
                                                                      Valerie Montgomery Rice

                                                                      ____________________________________
                                                                      Justin Sapolsky

                                                                      ____________________________________
                                                                      Rob Wolfson

                                                                      ____________________________________
                                                                      Kevin Van Culin

                                                                      ____________________________________
                                                                      Michael Kuritzky

                                                                      ____________________________________
                                                                      Patrick Bartels

                                                                      ____________________________________
                                                                      Carol Flaton




                                        [Signature Page to Omnibus Action by Written Consent
                                    (Chapter 11 Filing, Retention of Professionals and DIP Facility)]
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                                                                      GENERAL PARTNER OF CCS-CMGC
                                                                      PARENT HOLDINGS LP:

                                                                      CCS-CMGC Parent GP, LLC, a
                                                                      Delaware limited liability company


                                                                      ____________________________________
                                                                      By: Jorge Dominicis
                                                                      Its: Authorized Signatory




                                                                      MEMBERS    OF    THE      SPECIAL
                                                                      COMMITTEE      OF     CCS-CMGC
                                                                      INTERMEDIATE HOLDINGS 2, INC.,


                                                                      ____________________________________
                                                                      Patrick Bartels

                                                                      ____________________________________
                                                                      Carol Flaton


                                                                      INDEPENDENT DIRECTORS OF CCS-
                                                                      CMGC INTERMEDIATE HOLDINGS 2,
                                                                      INC.,  CCS-CMGC   INTERMEDIATE
                                                                      HOLDINGS, INC., AND WELLPATH
                                                                      HOLDINGS, INC.


                                                                      ____________________________________
                                                                      Patrick Bartels

                                                                      ____________________________________
                                                                      Carol Flaton




                                        [Signature Page to Omnibus Action by Written Consent
                                    (Chapter 11 Filing, Retention of Professionals and DIP Facility)]
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                                                                     BOARD OF MANAGERS OF WELLPATH
                                                                     COMMUNITY CARE HOLDINGS, LLC,
                                                                     WHC, LLC, ZENOVA MANAGEMENT,
                                                                     LLC, ZENOVA TELEHEALTH, LLC,
                                                                     MISSOURI   JSH  HOLDCO,     LLC,
                                                                     WELLPATH SF HOLDCO, LLC, JUSTICE
                                                                     SERVED HEALTH HOLDINGS, LLC,
                                                                     JESSAMINE HEALTHCARE, LLC:


                                                                     ____________________________________
                                                                     Louis Hallman

                                                                     ____________________________________
                                                                     Cindy Watson

                                                                     ____________________________________
                                                                     Marc Goldstone




                                       [Signature Page to Omnibus Action by Written Consent
                                   (Chapter 11 Filing, Retention of Professionals and DIP Facility)]
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                                                                       BOARD OF DIRECTORS OF PHYSICIANS
                                                                       NETWORK     ASSOCIATION,    INC.,
                                                                       WELLPATH CFMG, INC., WELLPATH
                                                                       MANAGEMENT, INC., MISSOURI JSH
                                                                       MANAGER, INC.:


                                                                       ____________________________________
                                                                       Louis Hallman


                                                                       ____________________________________
                                                                       Cindy Watson


                                                                       ____________________________________
                                                                       Marc Goldstone



                                                                       BOARD OF MANAGERS OF WELLPATH
                                                                       GROUP HOLDINGS, LLC, CORRECT
                                                                       CARE HOLDINGS, LLC, WELLPATH
                                                                       HOSPITAL HOLDING COMPANY, LLC,
                                                                       ALPINE CA BEHAVIORAL HEALTH
                                                                       HOLDCO, LLC:

                                                                       ____________________________________
                                                                       Jeremy Barr


                                                                       ____________________________________
                                                                       Cindy Watson

                                                                       ____________________________________
                                                                       Marc Goldstone




                                        [Signature Page to Omnibus Action by Written Consent
                                    (Chapter 11 Filing, Retention of Professionals and DIP Facility)]
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                                                                      BOARD OF MANAGERS OF PERIMETER
                                                                      HILL RPA, LLC:


                                                                      ____________________________________
                                                                      Jody Coleman

                                                                      ____________________________________
                                                                      Cindy Watson

                                                                      ____________________________________
                                                                      Brooke McGee




                                                                      SOLE MEMBER OF WELLPATH
                                                                      COMMUNITY CARE MANAGEMENT,
                                                                      LLC:

                                                                      Wellpath Community Care Holdings, LLC


                                                                      By: _______________________________
                                                                      Name: Marc Goldstone
                                                                      Title: Secretary




                                       [Signature Page to Omnibus Action by Written Consent
                                   (Chapter 11 Filing, Retention of Professionals and DIP Facility)]
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                                                                       SOLE MEMBER OF WELLPATH
                                                                       COMMUNITY CARE CENTERS OF
                                                                       VIRGINIA, LLC:

                                                                       Wellpath Community Care Management, LLC


                                                                       By: _______________________________
                                                                       Name: Marc Goldstone
                                                                       Title: Secretary

                                                                       SOLE MEMBER OF WELLPATH LLC:

                                                                       Justice Served Health Holdings, LLC


                                                                       By: _______________________________
                                                                       Name: Marc Goldstone
                                                                       Title: Secretary


                                                                       SOLE MEMBER OF BOYTON BEACH
                                                                       FLORIDA BEHAVIORAL HEALTH
                                                                       HOSPITAL COMPANY, LLC AND 901
                                                                       45TH STREET WEST PALM BEACH
                                                                       FLORIDA BEHAVIORAL HEALTH
                                                                       HOSPITAL COMPANY, LLC, HCS
                                                                       CORRECTIONAL MANAGEMENT, LLC:

                                                                       Wellpath LLC


                                                                       By: _______________________________
                                                                       Name: Marc Goldstone
                                                                       Title: Secretary




                                        [Signature Page to Omnibus Action by Written Consent
                                    (Chapter 11 Filing, Retention of Professionals and DIP Facility)]
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                                                                       SOLE MEMBER OF CORRECTIONAL
                                                                       HEALTHCARE HOLDING COMPANY,
                                                                       LLC, CONMED HEALTHCARE
                                                                       MANAGEMENT, LLC, WELLPATH
                                                                       EDUCATION, LLC:

                                                                       Jessamine Healthcare, LLC


                                                                       By: _______________________________
                                                                       Name: Marc Goldstone
                                                                       Title: Secretary

                                                                       SOLE MEMBER OF CHC COMPANIES,
                                                                       LLC:

                                                                       Correctional Healthcare Holding Company,
                                                                       LLC


                                                                       By: _______________________________
                                                                       Name: Marc Goldstone
                                                                       Title: Secretary


                                                                       SOLE MEMBER OF CORRECTIONAL
                                                                       HEALTHCARE COMPANIES, LLC,
                                                                       HEALTHCARE PROFESSIONALS, LLC:

                                                                       CHC Companies, LLC


                                                                       By: _______________________________
                                                                       Name: Marc Goldstone
                                                                       Title: Secretary




                                        [Signature Page to Omnibus Action by Written Consent
                                    (Chapter 11 Filing, Retention of Professionals and DIP Facility)]
Docusign Envelope ID: 906E777A-EA6F-43AF-81A5-32E2022CC9D9
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                                                                       SOLE MEMBER OF WPMED, LLC:

                                                                       Conmed Healthcare Management, LLC


                                                                       By: _______________________________
                                                                       Name: Marc Goldstone
                                                                       Title: Secretary

                                                                       SOLE MEMBER OF WELLPATH
                                                                       RECOVERY SOLUTIONS, LLC:

                                                                       Correct Care Holdings, LLC


                                                                       By: _______________________________
                                                                       Name: Marc Goldstone
                                                                       Title: Secretary


                                                                       SOLE MEMBER OF CORRECT CARE OF
                                                                       SOUTH CAROLINA, LLC:

                                                                       Wellpath Recovery Solutions, LLC


                                                                       By: _______________________________
                                                                       Name: Marc Goldstone
                                                                       Title: Secretary


                                                                       SOLE MEMBER OF HARBORVIEW
                                                                       CENTER, LLC, BEHAVIORAL HEALTH
                                                                       MANAGEMENT SYSTEMS, LLC:

                                                                       Alpine CA Behavioral Health Holdco, LLC


                                                                       By: _______________________________
                                                                       Name: Marc Goldstone
                                                                       Title: Secretary




                                        [Signature Page to Omnibus Action by Written Consent
                                    (Chapter 11 Filing, Retention of Professionals and DIP Facility)]
        Case 24-90533 Document 1 Filed in TXSB on 11/11/24 Page 29 of 38




                                      SCHEDULE A

Company
CCS-CMGC Parent GP, LLC
CCS-CMGC Parent Holdings, LP
CCS-CMGC Intermediate Holdings 2, Inc.
CCS-CMGC Intermediate Holdings, Inc.
Wellpath Holdings, Inc.
Wellpath Community Care Holdings, LLC
Wellpath Community Care Management, LLC
Wellpath Community Care Centers of Virginia, LLC
WHC, LLC
Zenova Management, LLC
Zenova Telehealth, LLC
Missouri JSH Holdco, LLC
Missouri JSH Manager, Inc.
Wellpath SF Holdco, LLC
Justice Served Health Holdings, LLC
Wellpath LLC
Boyton Beach Florida Behavioral Health Hospital Company, LLC
901 45th Street West Palm Beach Florida Behavioral Health Hospital Company, LLC
Perimeter Hill RPA, LLC
HCS Correctional Management, LLC
Correctional Healthcare Companies, LLC
Jessamine Healthcare, LLC
Correctional Healthcare Holding Company, LLC
CHC Companies, LLC
Physicians Network Association, Inc.
Conmed Healthcare Management, LLC
WPMed, LLC
Healthcare Professionals, LLC
Wellpath CFMG, Inc.
Wellpath Management, Inc.
Wellpath Education, LLC
Wellpath Group Holdings, LLC
Correct Care Holdings, LLC
Wellpath Recovery Solutions, LLC
Correct Care of South Carolina, LLC
Wellpath Hospital Holding Company, LLC
Alpine CA Behavioral Health Holdco, LLC
Harborview Center, LLC
Behavioral Health Management Systems, LLC
                                           Case 24-90533 Document 1 Filed in TXSB on 11/11/24 Page 30 of 38


     Fill in this information to identify the case:
     Debtor name: Wellpath Holdings, Inc,, et al.,
     United States Bankruptcy Court for the: Southern District of Texas
     Case number (If known):                                                                                                                  Check if this is an amended
                                                                                                                                               filing

     Official Form 204
     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are
     Not Insiders                                                                           12/15
     A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who
     is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
     holders of the 30 largest unsecured claims.


                                                                                                         Nature of the                         Amount of unsecured claim
                                                                                                          claim (for
                                                                                                        example, trade                        if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                         debts, bank                          If claim is partially secured, fill in total claim amount and
                                                                                                            loans,       Indicate if claim is deduction for value of collateral or setoff to calculate unsecured
         Name of creditor and complete
                                                         Name, telephone number, and email address of    professional       contingent,       claim.
                       mailing address,
                                                                       creditor contact                    services,      unliquidated, or
                      including zip code
                                                                                                                              disputed                                      Deduction for
                                                                                                        and government                                                       value of
                                                                                                                                                   Total claim, if         collateral or
                                                                                                                                                  partially secured            setoff
                                                                                                          contracts)                                                                           Unsecured claim
                                                      2120 Alpine Blvd, Alpine, CA 91901


    Alpine CA Behavioral                              (619) 445-2644                                    Unsecured
                                                                                                                                              $17,974,459                                    $17,974,459
    Holdco, LLC                                                                                         Noteholder


1
                                                      1120 15th Street BA-2612, Augusta
                                                      GA 30912
    AU Medical Center Inc.                                                                              Trade                                 $11,992,022                                    $11,992,022
2                                                     (709) 828-6436

                                                      corp_acctg-cash@augusta.edu
                                                      1352-C Charwood Road, Hanover
                                                      MD 21076
    Correct RX Pharmacy
3                                                     (410) 636-9500                                    Trade                                 $9,547,633                                     $9,547,633
    Services, Inc.
                                                      AccountsReceivable@correctrxphar
                                                      macy.com
                                                      645 Kolter Drive, Indiana PA 15701

    Diamond Drugs, Inc.                               (724) 465-4200                                    Trade                                 $7,419,885                                     $7,419,885
4

                                                      mshawley@diamondpharmacy.com
                                                      P.o. Box 1000 Dept 865, Memphis
                                                      TN 38148-0865
    Shelby Co Healthcare Corp
                                                                                                        Trade                                 $5,431,262                                     $5,431,262
5   dba Regional One Health (901) 545-7651

                                                      kericksen@regionalonehealth.org
                                                      401 W Greenlawn, Lansing MI
                                                      48910
    Mclaren Greater Lansing                                                                             Trade                                 $5,272,724                                     $5,272,724
6                                                     (517) 975-6000
 Debtor
                                        Case 24-90533 Document 1 Filed in TXSB on 11/11/24 Case
           Wellpath Holdings, Inc., et al.
                                                                                           Page       31 of 38
                                                                                                number (if known)




                                                                                                        Nature of the                              Amount of unsecured claim
                                                                                                         claim (for
                                                                                                       example, trade                            if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                        debts, bank                              If claim is partially secured, fill in total claim amount and
                                                                                                           loans,           Indicate if claim is deduction for value of collateral or setoff to calculate unsecured
          Name of creditor and complete
                                               Name, telephone number, and email address of             professional           contingent,       claim.
                        mailing address,
                                                             creditor contact                             services,          unliquidated, or
                       including zip code
                                                                                                                                 disputed                                      Deduction for
                                                                                                      and government                                                            value of
                                                                                                                                                          Total claim, if     collateral or
                                                                                                                                                         partially secured        setoff
                                                                                                          contracts)                                                                              Unsecured claim
                                             contact@mclaren.org



                                             777 Hemlock St, Macon GA 31201

     Medical Center Of Central
                               (478) 633-1000                                                        Trade                                        $4,401,175                                    $4,401,175
     Georgia, Inc.
 7



                                             Information on file
                                                                                                     Litigation
     Name on file                                                                                                                                 $4,291,667                                    $4,291,667
                                                                                                     Settlement
 8

                                             1537 Walton Way, Augusta GA
                                             30904-3764
     Select Specialty Hospital -
                                                                                                     Trade                                        $4,258,459                                    $4,258,459
 9   Augusta Inc.                (706) 731-1200

                                             augusta@selectspecialty.com
                                             Information on file
                                                                                                     Litigation
10   Name on file                                                                                                                                 $3,513,184                                    $3,513,184
                                                                                                     Settlement

                                             601 S 8th St, Griffin GA 30224-
                                             4213
     Spalding Regional Hospital,
                                                                                                     Trade                                        $3,112,964                                    $3,112,964
     Inc.                        (770) 228-2721
11



                                             P.O. Box 12140, Burlington NC
                                             27216-2140
     Laboratory Corporation of
                                                                                                     Trade                                        $2,976,220                                    $2,976,220
     America                   (800) 788-9893

12                                           cashposters@labcorp.com
                                             7400 Plaza Mayor Blvd, Ste 100,
                                             Oklahoma City OK 73149

     Pharmacorr, LLC                                                                                 Trade                                        $2,786,878                                    $2,786,878
                                             (405) 698-1285
13
                                             rachel.irving@pharmacorr.com
                                             11 Upper Riverdale Rd Sw,
                                             Riverdale GA 30274-2615
     Prime Healthcare
                                                                                                     Trade                                        $2,711,454                                    $2,711,454
14   Foundation, Inc.                        (909) 235-4400

                                             info@primehealthcare.com

 Official Form 204                                           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                              page 2
 Debtor
                                        Case 24-90533 Document 1 Filed in TXSB on 11/11/24 Case
           Wellpath Holdings, Inc., et al.
                                                                                           Page       32 of 38
                                                                                                number (if known)




                                                                                                        Nature of the                              Amount of unsecured claim
                                                                                                         claim (for
                                                                                                       example, trade                            if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                        debts, bank                              If claim is partially secured, fill in total claim amount and
                                                                                                           loans,           Indicate if claim is deduction for value of collateral or setoff to calculate unsecured
          Name of creditor and complete
                                               Name, telephone number, and email address of             professional           contingent,       claim.
                        mailing address,
                                                             creditor contact                             services,          unliquidated, or
                       including zip code
                                                                                                                                 disputed                                      Deduction for
                                                                                                      and government                                                            value of
                                                                                                                                                          Total claim, if     collateral or
                                                                                                                                                         partially secured        setoff
                                                                                                          contracts)                                                                              Unsecured claim
                                             Information on file
                                                                                                     Litigation
     Name on file                                                                                                                                 $2,500,000                                    $2,500,000
                                                                                                     Settlement
15
                             2823 Fresno St, Fresno CA 93721-
16 Fresno Community Hospital
                             1324
                                                                Trade                                                                             $2,396,503                                    $2,396,503
   and Medical Center
                             (559) 459-6000
                             P.O. Box 936279, Atlanta GA 31193-
                             6279
17
   McKesson Medical –
                                                                Trade                                                                             $2,350,965                                    $2,350,965
   Surgical Inc.             (800) 220-4493

                                             MMS.EFT@Mckesson.com
                                             850 W Baraga Ave, Marquette MI
                                             49855-4550
     UP Health System -
                                                                                                     Trade                                        $2,222,534                                    $2,222,534
18   Marquette                               (906) 449-3000

                                             upmarquette@verisma.com
                                             39300 Civic Center Drive Ste-270,
                                             Fremont CA 94538
     Sonata Software North
                                                                                                     Trade                                        $2,210,841                                    $2,210,841
19   America, Inc.                           (650) 268-1300

                                             dipannita.s@sonata-software.com
                                             1600 S Andrews Ave, Fort Lauderdale
                                             FL 33316
     Broward Health Medical
                                                                                                     Trade                                        $2,053,933                                    $2,053,933
20   Center                                  (954) 473-7575

                                             credentials@browardhealth.org
                                             201 E Sample Rd, Deerfiled Beach
                                             FL 33064

     Broward Health North                                                                            Trade                                        $1,983,534                                    $1,983,534
21                                           (954) 941-8300

                                             credentials@browardhealth.org
                                             4700 Waters Ave, Savannah GA
                                             31404-6220

     Memorial University
22                             (912) 350-8000                                                        Trade                                        $1,933,546                                    $1,933,546
     Medical Center - Savannah

                                             PARA.HCARecordsRequestFL@hcah
                                             ealthcare.com


 Official Form 204                                           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                              page 3
 Debtor
                                        Case 24-90533 Document 1 Filed in TXSB on 11/11/24 Case
           Wellpath Holdings, Inc., et al.
                                                                                           Page       33 of 38
                                                                                                number (if known)




                                                                                                        Nature of the                              Amount of unsecured claim
                                                                                                         claim (for
                                                                                                       example, trade                            if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                        debts, bank                              If claim is partially secured, fill in total claim amount and
                                                                                                           loans,           Indicate if claim is deduction for value of collateral or setoff to calculate unsecured
          Name of creditor and complete
                                               Name, telephone number, and email address of             professional           contingent,       claim.
                        mailing address,
                                                             creditor contact                             services,          unliquidated, or
                       including zip code
                                                                                                                                 disputed                                      Deduction for
                                                                                                      and government                                                            value of
                                                                                                                                                          Total claim, if     collateral or
                                                                                                                                                         partially secured        setoff
                                                                                                          contracts)                                                                              Unsecured claim
                                             710 Center St, Columbus GA
                                             31901-1527

     The Medical Center                                                                              Trade                                        $1,926,812                                    $1,926,812
23                                           (706) 571-1120

                                             recordsrequest@piedmont.org
                                             5301 E Huron River Dr, Ann
                                             Arbor MI 48106-0993

     St. Joseph Mercy Hospital                                                                       Trade                                        $1,805,982                                    $1,805,982
24                                           (734) 712-2808

                                             andersoh@trinity-health.org
                                             417 W 3Rd Ave, Albany GA
                                             31701-1943
     Phoebe Putney Memorial
                                                                                                     Trade                                        $1,776,068                                    $1,776,068
25   Hospital                                (229) 312-1000

                                             himroi@phoebehealth.com
                                             902 7Th St N, Cordele GA 31015

     Crisp Regional Hospital                 (229) 276-3100                                          Trade                                        $1,764,422                                    $1,764,422
26

                                             info@crispregional.org
                                             1000 Waterman Way, Tavares FL
                                             32778-5266
     Florida Hospital Waterman                                                                       Trade                                        $1,685,168                                    $1,685,168
27                                           (352) 253-3333
                                             1350 Walton Way, Augusta GA
                                             30901-2612

     Piedmont Augusta Hospital                                                                       Trade                                        $1,526,858                                    $1,526,858
28                                           (706) 722-9011

                                             recordsrequest@piedmont.org
                                             2801 N State Rd 7, Margate FL
29
                                             33063-5596

     HCA Florida Northwest
                                             (305) 652-8000                                          Trade                                        $1,449,452                                    $1,449,452
     Hospital

                                             PARA.HCARecordsRequestFL@h
                                             cahealthcare.com

                                             Information on file                                     Litigation
     Name on file                                                                                                                                 $1,348,213                                    $1,348,213
                                                                                                     Settlement
30



 Official Form 204                                           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                              page 4
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


In re:                                                              Chapter 11

WELLPATH HOLDINGS, INC., et al., 1                                  Case No. 24-[_______] ([___])


                                       Debtors.                     (Joint Administration Requested)


                   CONSOLIDATED CORPORATE OWNERSHIP
              STATEMENT AND LIST OF EQUITY INTEREST HOLDERS
            PURSUANT TO FED. BANKR. P. 1007(A)(1), 1007(A)(3), AND 7007.1

       Pursuant to rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy
Procedure (the “Bankruptcy Rules”), and to enable the Judges to evaluate possible disqualification
or recusal, attached hereto as Exhibit A is a corporate structure chart (the “Corporate Structure
Chart”) reflecting the ownership interests of CCS-CMGC Parent GP, LLC, CCS-CMGC Parent
Holdings, L.P. and its direct and indirect subsidiaries (collectively, the “Debtors”), each of which
is a debtor and debtor in possession in the above-captioned chapter 11 cases (the “Chapter 11
Cases”). The Debtors respectfully represent, as of the date hereof, the following:

        1.      Each of the Debtors identified on the Corporate Structure Chart is owned in its
entirety by its direct parent.

        2.    The equity securities of each of the Debtor entities are privately held and a list of
the issued and outstanding common stock of CCS-CMGC Parent GP, LLC and CCS-CMGC
Parent Holdings, L.P., prepared in accordance with Bankruptcy Rule 1007(a)(3), is attached hereto
as Exhibit B.

        3.      Other than as set forth in the exhibits hereto, each of which is incorporated herein
by reference, no other corporation (as such term is defined in section 101(9) of title 11 of the
United States Code), public or private, owns 10% or more of any class of a Debtor’s common
equity interests.




1
    A complete list of the Debtors in the Chapter 11 Cases may be obtained on the website of the Debtors’ claims and
    noticing agent at https://dm.epiq11.com/Wellpath. The Debtors’ service address for the Chapter 11 Cases is 3340
    Perimeter Hill Drive, Nashville, Tennessee 37211.
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                               Exhibit A

                    Corporate Structure Chart
                                                                                  Case 24-90533 Document 1 Filed in TXSB on 11/11/24 Page 36 of 38




                                                                                                                                  CCSͲCMGC
                                                                                                                                ParentGP,LLC                                                     Investors




                                                                                                                                                               CCSͲCMGCParent
                                                                                                                                                                 Holdings,LP


                                                                                                                                                                   CCSͲCMGC
                                                                                                                                                                  Intermediate
                                                                                                                                                                 Holdings2,Inc.
                                                                                                                                                                       (DE)

                                                                                                                                                                    CCSͲCMGC
                                                                                                                                                                   Intermediate
                                                                                                                                                                   Holdings,Inc.
                                                      DebtorEntity                                                                                                     (DE)

                                                                                                                                                              WellpathHoldings,
                                                                                                                                                                     Inc.
                                                                                                                                                                    (DE)
                                                                                                                                                              (FKACCSͲCMGCHoldings,Inc.)



                                                                                                                                                                                                                                                                                                                                                WellpathGroup
                                                                                  MissouriJSH          WellpathSFHoldCo,            JusticeServed                                                                                         Jessamine                          WellpathCFMG,Inc.
WellpathCommunity                  WHC,LLC                                                                                                                                                          HHRisk,LLC                                                                                                                              Holdings,LLC
                                                                                  HoldCo,LLC                    LLC                   HealthHoldings,LLC                                                                                    Healthcare,LLC                              (DE)
 CareHoldings,LLC                   (DE)                                                                                                                                                                (TN)                                                                                                                                       (DE)
                                                                                      (DE)                      (DE)                           (DE)                                                                                                 (DE)                               (FKACFMGHoldingsCorp.)                           (FKACorrectCareSolutionsGroup
        (DE)                                                                                                                                                                                                                                                                                                                                          Holdings,LLC)




                                                                                                                                                                                                                                   Correctional               Conmed                                                                                                 WellpathHospital
 WellpathCommunity       Zenova                  Zenova                       MissouriJSH                                              WellpathLLC                                                                                                                                Wellpath
                                                                                                                                                                                                                                    Healthcare               Healthcare                                                    CorrectCare                             HoldingCompany,
CareManagement,LLC   Management,LLC          Telehealth,LLC                   Manager,Inc.                                                  (DE)                                                                                                                                 Management,Inc.
                                                                                                                                                                                                                                 HoldingCompany,         Management,LLC                                               Holdings,LLC                                    LLC
         (DE)               (DE)                     (DE)                             (DE)                                                                                                                                                                                                 (DE)
                                                                                                                                        (FKACorrectCareSolutions,LLC)                                                               LLC                     (DE)                 (FKACorrectionalMedicalGroup
                                                                                                                                                                                                                                                                                                                               (FL)                                        (DE)
                                                                                                                                                                                                                                                                                            Companies,Inc.)
                                                                                                                                                                                                                                       (DE)
                                                                   1%
WellpathCommunity
  CareCentersof                                                                                  BoyntonBeach       90145thStreetWest                                                HCSCorrectional                                                                      WellpathEducation,               WellpathRecovery
                                                                                    99%
                                                                                                                          PalmBeachFlorida                     PerimeterHill                                                                                WPMed,LLC                                                                                        AlpineCABehavioral
    Virginia,LLC                                                 WellpathSt.                   FloridaBehavioral                                                                         Management,LLC                   CHCCompanies,LLC                                          LLC                         Solutions,LLC
                                                                                                                          BehavioralHealth                        RPA,LLC                                                                                      (MD)                                                                                             HealthHoldCo,LLC
        (DE)                                                      Louis,LLC                      HealthHospital                                                                                (DE)                                (DE)                                                 (MD)                               (FL)
                                                                                                                          HospitalCompany,                          (DE)                                                                                       (FKAConmed,LLC)                                                                                         (DE)
                                                                     (MO)                         Company,LLC(DE)                                                                           (FKAHealthCostSolutions,LLC)
                                                                                                                                                                                                                                                                                     (FKACorrectionalMentalHealth
                                                                                                                                                                                                                                                                                              ServicesLLC)
                                                                                                                                                                                                                                                                                                                          (FKACorrectCare,LLC)

                                                                                                                               LLC(DE)

                                                                                                                                                                                                                                                                                                                                                                                           BehavioralHealth
                                                                                                                                                                                                     Correctional                                                                                                        CorrectCareof                         HarborviewCenter,
                                                                                                                                                                                                                                 PhysiciansNetwork          Healthcare                                                                                                                      Management
                                                                                                                                                                                                      Healthcare                                                                                                        SouthCarolina,LLC                                LLC
                                                                                                                                                                                                                                  Association,Inc.       Professionals,LLC                                                                                                                 Systems,LLC
                                                                                                                                                                                                    Companies,LLC                                                                                                             (DE)                                       (CA)
                                                                                                                                                                                                                                         (TX)                   (CO)                                                                                                                             (CA)
                                                                                                                                                                                                         (DE)
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                                                   Exhibit B

                                         List of Ownership Interests

                                   CCS-CMGC Parent GP, LLC
                                           Address of                               Percentage of
         Equityholder
                                          Equityholder                              Equity Held
                                     1450 Brickell Avenue, 31st Floor,
    H.I.G. CCS-CMGC, L.P.,                                                              100%
                                            Miami, FL 33131



                              CCS-CMGC Parent Holdings, L.P.
                                            Address of                              Percentage of
         Equityholder
                                          Equityholder                              Equity Held
                                c/o Alpine Special Treatment, Inc.:
    Alpine Special Treatment,
                                        2120 Alpine Blvd.                      17% of Preferred Units
              Inc.
                                        Alpine, CA 91901
                                c/o Alpine Special Treatment, Inc.:
           Mike Doyle                   2120 Alpine Blvd.                      17% of Preferred Units
                                        Alpine, CA 91901
                                c/o Alpine Special Treatment, Inc.:
         Victoria Klein                 2120 Alpine Blvd.                      33% of Preferred Units
                                        Alpine, CA 91901
                                c/o Alpine Special Treatment, Inc.:
         Kristin Allred                 2120 Alpine Blvd.                      33% of Preferred Units
                                        Alpine, CA 91901
    H.I.G. Advantage Buyout          1450 Brickell Avenue, 31st Floor,             86% of all non-
           Fund, L.P.                       Miami, FL 33131                        Preferred Units
                                                                                   14% of all non-
      Other Equityholders 1
                                                                                   Preferred Units




1
    There are approximately 180 other equityholders in CCS-CMGC,LP, including current and former employees,
    directors, and officers, each of which holds a de minimis amount of equity.
                      Case 24-90533 Document 1 Filed in TXSB on 11/11/24 Page 38 of 38




Fill in this information to identify the case:

Debtor name         Wellpath Holdings, Inc.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

              Other document that requires a declaration       Statement of Corporate Ownership and List of Equity Security Holders

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       November 11, 2024               X /s/ Timothy Dragelin
                                                           Signature of individual signing on behalf of debtor

                                                            Timothy Dragelin
                                                            Printed name

                                                            Chief Restructuring Officer and Chief Financial Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
